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     PQS LAW
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     Attorneys for Defendant Andrea Schuck
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 8                          UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
10
11 ROBERT EMERT,                        )
                                                       Case No. 23-cv-0230-RSH-AHG
12                          Plaintiff,  )              DEFENDANT ANDREA
                                        )              SCHUCK’S NOTICE OF MOTION
13   vs.                                )              AND MOTION TO STRIKE AND
                                        )              REPLACE UNREDACTED
     LUIS VENA; ANDREA SCHUCK;          )              ATTACHMENT 2 TO DOCUMENT
14   MATTHEW W. CORD; PATTI C.          )
                                        )              5 MOTION TO DISMISS
15   RATEKIN; DAVID S. SCHULMAN;                       PLAINTIFF’S COMPLAINT
     LORNA A. ALKSNE; DAVID J.          )              AGAINST HER PURSUANT TO
16   DANIELSEN; MOORE, SCHULMAN & )                    FRCP 12(b)(1) and 12(b)(6)
     MOORE; ROBERT OLAGUE; AND          )
     DOES 1 – 20 inclusive,             )
17                                      )              Judge:     Hon. Robert S. Huie
                                                       Courtroom: 3B
18                          Defendants. )              Date:      April 4, 2023
                                        )
                                        )
19                                      )              PER CHAMBERS RULES, NO ORAL
                                        )              ARGUMENT UNLESS
20                                                     SEPARATELY ORDERED BY THE
                                                       COURT.
21
22         PLEASE TAKE NOTICE that Defendant Andrea Schuck hereby does move
23 this Court to Strike the electronically filed Attachment 2 [Request for Judicial In
24 Support of Defendant Andrea Schuck’s Motion to Dismiss Plaintiff’s Complaint
25
     Against Her Pursuant to FRCP 12(b)(1) and 12(b)(6)] to Document 5 [Motion to
26 Dismiss For Failure to State a Claim by Andrea Schuck] and to replace such stricken
27 Attachment 2 with the attached Amended Request for Judicial Notice. The original
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                                              1
     Defendant Schuck’s Notice of Motion and Motion to Strike 23-cv-0230-RSH-AHG
 1 Attachment 2 inadvertenly and mistakenly included State Court Records with
 2 unredacted minor children’s names as exhibits. The attached Amended Request for
 3 Judicial Notice has been corrected and the names of minor children have been
 4 redacted as to all exhibits attached thereto.
 5          Accordingly, Defendant Andrea Schuck, by and through her counsel, Peter
 6 Schluederberg, Esq., PQS Law, requests the Court to grant this motion to strike and
 7 allow the appropriate E-filing personnel or Court Clerk to replace and refile the
 8 Attachment 2 to Document 5 of this case, with the attached Amended Request for
 9 Judicial Notice, thereby correcting the inadvertent filing error.
10          Respectfully submitted,
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                                                    PQS LAW
12 Dated:      March 1, 2023              By: __________________________________
13                                            Peter Q. Schluederberg, Esq.
                                              Attorneys for Defendant Andrea Schuck
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     Defendant Schuck’s Notice of Motion and Motion to Strike 23-cv-0230-RSH-AHG
